Case 18-06044-LT11   Filed 12/04/19   Entered 12/04/19 13:15:01   Doc 494    Pg. 1 of 1




                             TENTATIVE RULING
                   ISSUED BY JUDGE LAURA S. TAYLOR




   Debtor:      JESSE WAYNE DAWBER


   Number:      18-06044-LT11
   Hearing:     11:00 AM Thursday, December 5, 2019
   Motion:     APPLICATION FOR COMPENSATION AND REIMBURSEMENT
   OF EXPENSES FILED BY: LEVENE, NEALE, BENDER, YOO AND BRILL
   L.L.P., TRUSTEE'S ATTORNEY


   The Court reviewed the first interim application for fees and costs of Levene,
   Neale, Bender, Yoo and Brill L.L.P. ("Firm") dated November 7, 2019 (the
   "Application") and finds it appropriate as to form and content. The Court
   reviewed the Docket and determined that no opposition was filed. Therefore, the
   Court grants the Application and awards interim fees and costs as follows:
   Fees for period July 30, 2019 through October 31, 2019: $459,041.50
   Costs for period July 30, 2019 through October 31, 2019: $17,248.03
   The Court thanks the Firm for its work on behalf of the Trustee and the estate.
   The Firm's efforts have been critical to bringing the case to a point where
   significant recovery for creditors may be available. The Firm has also taken
   proactive steps to end the consequences of previous inappropriate behavior.
   Attendance at the hearing on this Application scheduled for December 5, 2019 at
   11:00 a.m. is excused, and the Firm may submit its order forthwith. Of course,
   the Firm must appear on the fifth on other matters before the Court.
